                                        Case 3:19-cv-04613-WHA Document 70 Filed 10/24/20 Page 1 of 2




                                   1

                                   2

                                   3

                                   4

                                   5

                                   6                                UNITED STATES DISTRICT COURT

                                   7
                                                                   NORTHERN DISTRICT OF CALIFORNIA
                                   8

                                   9

                                  10   EASTON STOKES,
                                  11                  Plaintiff,                                         No. C 19-04613 WHA

                                  12           v.
Northern District of California
 United States District Court




                                  13   UNITED STATES DEPARTMENT OF JUSTICE,                              ORDER REQUESTING
                                       WILLIAM BARR, individually and as Attorney General                INFORMATION
                                  14
                                       of the United States, THE U.S. BUREAU OF
                                  15   ALCOHOL, TOBACCO, FIREARMS AND
                                       EXPLOSIVES (ATF), REGINA LOMARDO,
                                  16   individually and as Acting Director of ATF, THE
                                       FEDERAL BUREAU OF INVESTIGATION,
                                  17   CHRISTOPHER WRAY, individually and as Director of
                                  18   the Federal Bureau of Investigation, STATE OF
                                       CALIFORNIA, XAVIER BECERRA, individually and
                                  19   acting as Attorney General of the State of California, and
                                       THE SONOMA COUNTY SHERIFF’S OFFICE,
                                  20   MARK ESSICK, individually and as Sheriff of Sonoma
                                       County,
                                  21
                                                      Defendants.
                                  22

                                  23

                                  24        Plaintiff’s declaration should also clarify whether the .45 was his grandfather’s side arm
                                  25   in the Second World War, and if so, his grandfather’s exact name and details of military
                                  26   service. Does the firearm have an army issue holster and if so, attach a photo of it.
                                  27        Plaintiff’s counsel should also include a declaration from Nancy Barker, referenced in the
                                  28   complaint. Her declaration should, to the extent she actually remembers, state the extent to
                                        Case 3:19-cv-04613-WHA Document 70 Filed 10/24/20 Page 2 of 2




                                   1   which plaintiff actually stated to Oakcrest that he wanted to remain for the additional 14 days

                                   2   and the extent to which he ever voiced objection or changed his mind. Attach any and all

                                   3   relevant documents in her possession

                                   4        IT IS SO ORDERED.

                                   5   Dated: October 24, 2020.

                                   6

                                   7                                                          WILLIAM ALSUP
                                                                                              UNITED STATES DISTRICT JUDGE
                                   8

                                   9

                                  10

                                  11

                                  12
Northern District of California
 United States District Court




                                  13

                                  14

                                  15

                                  16

                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                                      2
